Case 2:05-cr-20197-.]DB Document 6 Filed 06/20/05 Page 1 of 2 Page|D 7

UNITED STATES DISTRICT COURT
Western District of Tennessee

THOMAS M. GOU'LD memphis 901-495-1200
Clerk of Court Fax 901-
495-1250
Jaokson 731-421-9200
rex 731-427»9210

DATE: 6/20/2005

NOTICE TO ALL PARTIES

RE: CRIMINAL CASE NO. 05-20197
UNITED STATES OF AMERICA vS. AUSTIN GARRETT GUYER

RULE 20 (Consent to Transfer of Case for Plea and
Sentence)

XX RULE 40 TRANSFER

Following documents received from USDC NORTHERN DISTRICT OF IOWA
(1)Financia1 Addidavit (2)0rder of Conditions Setting Release (3)Order-It
iso order the deft is removed to the Westrn District of Tennessee for
further proceeding(f/OZ). Please refer to document #5 in the case record.

Sincerely,

TI-IQMAS M . GQULD l
Clerk of rt

BY:

 

ndbd£y clerk

    

cc: Mag. Judge Case mgr.
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167 North Main Street 109 South Highland Avenue
Memphis, Tennessee 38103 Jackson, Tennessee 38301

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20197 Was distributed by faX, mail, or direct printing on
July ]4, 2005 to the parties listed.

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE

167 N. Main St.
Ste. 800
Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

